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AO 91 (Rev. 08/09) Criminal Complaint

  

 

 

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UNITED STATES DISTRICT CoURT ‘=*LF~°
for the \MAR 2 4 ZUiB
Southern District of Texas
David J. Bradley, Clerk
United States of America )
V. ) _
"O‘ sandra Karyme RAM|REZ YoB 1996 ) Case N°' M " /3 OQZQWM'U/
us citizen §
)
Defendant(s)
chMINAL coMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of March 23, 2018 in the county of - Hidalgg in the
Southern District of Texas , the defendant(s) violated:
Code Section ` Ojfense Descrz`ptz'on

21 USC 952(a) and 21 USC 841 (a)(1) Knowingly and intentionally attempt to import into the United States from the
United lVlexican States approximately 4.36 kilograms of cocaine, Schedule ll
controlled substances the Controlled Substances Acl, and did knowingly and
intentionally possess with the intent to distribute approximately 4.36 kilograms of
cocaine, Schedule || controlled substance under the Contro||ed Substance Act.

This criminal complaint is based on these facts:

See Attachment "A"

1/ Continued on the attached sheet.
k Complainant ’l§ign'cRUKe-,i

Shane Petroskv, HSl Special Aqent

Printed name and title
Sworn to before me and signed in my presence
Date: M L?/,Z@/ 8 5(: 0 V/¢v` /%Z' /
/ Judge ’s signature é/

City and state: McAllen, Texas Peter E. Ormsby, U.S. lVlagistrate Judge

Printed name and title

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ATTACHMENT A

On March 23, 2018, at approximately 5:27 PM, a Chevrolet Malibu driven by J'esus Antonio
BALDERAS-Vazquez along with passengers Sandra Karyme RAMIREZ and Maria Luisa
VILLALOBOS-Rodriguez attempted to make entry into the United States via the Pharr, Texas
Port of Entry. At primary inspection, Customs and Border Protection Officer (CBPO) Carissa
Salinas obtained a negative declaration for narcotics and currency over ten thousand dollars
($10,000 USD) from all three occupants of the vehicle. CBPO Salinas questioned BALDERAS-
Vazquez and Ramirez as to the purpose of their travel in the United States to which they both
provided different responses CBPO Salinas then noticed a bulge in the abdominal area of
RAMIREZ who was the front seat passenger CBPO Salinas referred the Chevrolet Malibu and
all three occupants to secondary inspection

At secondary inspection, CBPO Edgar Velasquez asked all of the occupants to step out of the
Chevrolet Malibu in order to conduct a search of the vehicle As the occupants exited the vehicle,
CBPO Velasquez noticed the front seat passenger, RAMIREZ, kept adjusting her shirt and
possibly had bulges along her waist area.

CBPO Roberto Olivares utilized his canine partner (Hydro) to conduct a free air sniff around
RAMIREZ which resulted in a positive alert to the presence of a narcotic odor on RAMIREZ.
CBPO Salinas then conducted a pat down of RAMIREZ and discovered two brick type packages
concealed on her abdomen area beneath her shirt. A pat down of VlLLALOBOS-Rodriguez
revealed an additional two brick type packages concealed on her abdomen area beneath her shirt.

The two bricks discovered on RAMIREZ field tested positive for the properties of cocaine and
weighted a combined total of 2.18 kilograms The two bricks discovered on VILLALOBOS-
Rodriguez field tested positive for the properties of cocaine and weighed a combined total of
2.17 kilograms The total weight of the four bricks was 4.36 kilograms

Homeland Security Investigations (HSI) Special Agents Shane Petrosky and Rene Santos
conducted interviews of all three individuals and all three waived their Miranda Rights during
the interview. RAMIREZ and VILLALOBOS-Rodriguez both stated that they received the
bricks of narcotics at a house in Reynosa, MeXico and were going to be paid in cash upon the
successful delivery of the narcotics to a man in the United States on the same day. RAMIREZ
and VlLLALOBOS-Rodriguez both stated they were aware they were carrying cocaine.
RAMIREZ admitted to successfully crossing cocaine into the United States on one previous
occasion while VILLALOBOS-Rodriguez admitted to successfully crossing cocaine into the
United States on three previous occasions RAMIREZ and VILLALOBOS-Rodriguez stated that
once they crossed into the United States through the port of entry they would receive information
about where to meet a man to deliver the cocaine bricks and in exchange the man would provide
them with payment for their services

BALDERAS-Vazquez stated that RAMIREZ and VlLLALOBOS-Rodriguez approached him
and asked him to drive them from Reynosa, Mexico to the United States BALDERAS-Vazquez
later accepted the offer and was paid two hundred dollars ($200.00 USD) by RAMIREZ and
VlLLALOBOS-Rodriguez after successfully driving them to the United States approximately
one Week prior to the date of his arrest. BALDERAS-Vazquez stated that he believed they were
carrying either marijuana or cocaine. BALDERAS-Vazquez further stated that he was aware

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ATTACHMENT A

both of his passengers had drugs strapped to their abdominal area at the time of his arrest and he

was to be paid another two hundred dollars (SZO0.00 USD) for crossing them into the United
States on this occasion

